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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

   The State of LOUISIANA,
   By and through its Attorney General,
   Elizabeth B. Murrill; et al.,            Civil Action No. 3:24-CV-00563-TAD-KDM

                         PLAINTIFFS,
                                            Chief Judge Terry A. Doughty
   v.                                       Magistrate Judge Kayla D. McClusky

   U.S. DEPARTMENT OF EDUCATION; et al.,

                        DEFENDANTS.



                        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION
                              FOR A PARTIAL STAY PENDING APPEAL
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                                            INTRODUCTION

          This Court enjoined Defendants from enforcing the new Title IX rule, 89 Fed. Reg. 33,474

  (Apr. 29, 2024) (the “Rule”), in its entirety in the States of Louisiana, Mississippi, Montana, and Idaho,

  and postponed the Rule’s August 1, 2024 effective date. Defendants now seek a partial stay of this

  preliminary relief pending appeal; however, they cannot establish that a partial stay is justified. That is

  why Defendants rely on mischaracterizations of Plaintiffs’ briefing and harm, gloss over the

  interrelated nature of the Rule’s provisions, ignore the infeasibility of their proposed partial stay, and

  disregard how a partial stay would cause Plaintiffs irreparable harm pending appeal. Because

  Defendants have fallen far short of carrying their burden to justify a stay of the Court’s decision in

  their perfunctory, seven-page brief, the Court should deny Defendants’ motion.

                                       STANDARD OF REVIEW

          To obtain a stay of a district court decision pending appeal, Defendants “bear a ‘heavy

  burden.’ ” Plaquemines Parish v. Chevron USA, Inc., 84 F.4th 362, 373 (5th Cir. 2023) (quoting Vote.Org v.

  Callanen, 39 F.4th 297, 300 (5th Cir. 2022)). In determining whether Defendants have satisfied their

  burden, the Court must consider the following four factors: “(1) whether the stay applicant has made

  a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be irreparably

  injured absent a stay; (3) whether issuance of the stay will substantially injure the other parties

  interested in the proceeding; and (4) where the public interest lies.” Id. (quoting Nken v. Holder, 556

  U.S. 418, 434 (2009)). When “government Defendants are applying for a stay and Plaintiffs are the

  opposing party,” the factors do not merge, and “[t]he public interest factor is . . . distinct.” U.S. Navy

  Seals 1-26 v. Biden, 27 F.4th 336, 353 (5th Cir. 2022).

                                               ARGUMENT

  I.      DEFENDANTS CANNOT SHOW THEY WILL LIKELY SUCCEED ON THE MERITS.

          Because Plaintiffs are likely to succeed on the merits as explained in Plaintiffs’ prior briefing

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   and as confirmed by this Court and another district court, see Pls.’ § 705 Br., ECF No. 24 at 1–25;

   Pls.’ § 705 Reply, ECF No. 46 at 1–9; Mem. Ruling, ECF No. 53 at 16–36; Tennessee v. Cardona, No.

   CV 2: 24-072-DCR, 2024 WL 3019146, at *7–36 (E.D. Ky. June 17, 2024), Defendants cannot show

   that they will likely succeed on the merits of their appeal. Indeed, they do not even try—they simply

   direct the Court to their previous briefing.

          Defendants, however, advance a new argument regarding their preferred scope of the

   preliminary injunction. They contend (at 3) the Court entered an overbroad injunction “to the extent

   it extends beyond . . . (i) 34 C.F.R. § 106.31(a)(2), and (ii) the hostile environment harassment

   definition in 34 C.F.R. § 106.2, as applied to discrimination on the basis of gender identity.” But

   Defendants forfeited this argument. See Pls.’ § 705 Reply at 10 (“Defendants’ cursory request that

   the Court tailor any relief fails to provide true guidance on how to craft such relief (especially since

   the Rule’s provisions work together to amplify Plaintiffs’ harm) and so can be rejected.” (citing Texas

   v. EPA, 829 F.3d 405, 435 (5th Cir. 2016)); Texas, 829 F.3d at 435 (concluding the agency “waived

   any argument about the scope of the stay” when it, “in passing, request[ed] that any stay be ‘narrowly

   tailored’ ”). In any event, Defendants also fail to show that they are likely to succeed on this

   argument. Their only cited authority for the propriety of narrowing preliminary relief is a

   gerrymandering case where the Supreme Court vacated the judgment and remanded the case to give

   plaintiffs the opportunity to introduce evidence regarding standing. See Gill v. Whitford, 585 U.S. 48,

   73 (2018). But there is no dispute that Plaintiffs have demonstrated standing here. Nor can Plaintiffs’

   standing be plausibly disputed when (1) the Rule itself concedes that it increases Plaintiffs’ regulatory

   burdens and compliance costs, and (2) Plaintiffs introduced ample evidence substantiating that the

   Rule causes them concrete and particularized injuries. See, e.g., Pls.’ § 705 Br. at 25–28.

          Regardless, Defendants cannot show that the preliminary injunction is overbroad, because

   narrowing the injunction as Defendants request will cause Plaintiffs irreparable harm. Defendants
                                                       2
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   contend otherwise only by claiming (at 3) that Plaintiffs’ harms all stem from “the Rule’s treatment

   of gender identity.” That is false. In their briefing, Plaintiffs challenged more than the Rule’s gender-

   identity provisions and showed how other provisions also contravene Title IX, are otherwise

   unlawful, and injure Plaintiffs. For example, Plaintiffs argued that the Rule’s redefinition of Title

   IX’s general prohibition on sex discrimination to include discrimination based on grounds other

   than biological sex (including, but not limited to, gender identity) is unlawful and harms them. 1

   Plaintiffs also challenged the Rule’s sexual harassment definition across the board, not just how the

   sexual harassment definition applies in the gender identity context. 2 That provision injures Plaintiffs

   by making them federally commandeered censors over a large swath of protected speech—not just

   in the gender identity context.

          Furthermore, narrowing the injunction as Defendants request would be improper, because

   the Rule’s provisions work together to cause and exacerbate Plaintiffs’ harm. In Plaintiffs’ briefs,

   they provided examples of how the Rule’s provisions operate in tandem to increase Plaintiffs’




          1
             See, e.g., Pls.’ § 705 Br., ECF No. 24 at 9 (arguing “the Rule expands Title IX to include
  ‘discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or related conditions,
  sexual orientation and gender identity’ ” (quoting 89 Fed. Reg. at 33,476)); id. at 12 (arguing the Rule
  rewrites Title IX’s clear terms “by interpreting ‘sex’ in Title IX to embrace ‘gender identity’ and other
  concepts that are distinct from biological sex when the term ‘sex’ in Title IX means biological sex”);
  id. at 13 (explaining § 1681(a)’s “prohibition on sex discrimination means recipients generally cannot
  discriminate based on someone’s biological sex; it does not prohibit discrimination based on ‘gender
  identity’ or other grounds”); id. at 14 (highlighting that Title IX “refers to ‘sexual orientation’ and
  ‘gender identity’ not as ‘sex’ but as a separate ‘status’ ”); id. at 14–15 (“[T]he general prohibition on sex
  discrimination in § 1681 means only discrimination based on biological sex is prohibited under Title
  IX.”); id. at 25–28 (discussing how the Rule’s provisions will harm Plaintiffs, including increasing
  complaints, investigations, and private litigation); Pls.’ § 705 Reply, ECF No. 46 at 3 (“In any event,
  Bostock’s reasoning provides no support for defining discrimination based on biological sex to include
  discrimination based on other grounds, including gender identity.”).
          2
           See, e.g., Pls.’ § 705 Br., ECF at 16–18 (explaining the Rule’s harassment standard contravenes
  Title IX and violates the First Amendment); Pls.’ § 705 Reply at 4–6 (reiterating that the Rule’s
  harassment standard “disregards Title IX’s textual limitations” and burdens recipients, including by
  requiring them to monitor additional behavior and to report and censor additional speech).
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   obligations, liability risks, and compliance costs and to induce Plaintiffs to violate constitutional

   rights. 3 For example, Plaintiffs explained that the Rule’s increased reporting and response

   requirements, combined with the unlawful expansion of what constitutes sex discrimination, chills

   speech and greatly increases Plaintiffs’ obligations. See Pls.’ § 705 Br. at 16; Pls.’ § 705 Reply at 5.

          Defendants thus fail to acknowledge all aspects of the Rule that Plaintiffs challenge and the

   interconnected nature of the Rule’s provisions. The reality is that the challenged provisions

   “permeate[ ]” the Rule, making severance infeasible and unnecessary, especially when Defendants’

   “rulemaking was arbitrary and capricious, resulting in a rule that is invalid in its entirety.” Tennessee,

   2024 WL 3019146, at *43; cf. Chamber of Commerce v. U.S. Dep't of Labor, 885 F.3d 360, 388 (5th Cir.

   2018) (“[T]his comprehensive regulatory package is plainly not amenable to severance.”); Villas at

   Parkside Partners v. City of Farmers Branch, 726 F.3d 524, 544 (5th Cir. 2013) (en banc) (Dennis, J.,

   concurring) (“In my view, the Ordinance’s fundamental defects . . . are intrinsic to the Ordinance’s

   structure and run throughout its various provisions, making a severability analysis unnecessary.”).

  II.     Defendants Will Not Suffer Irreparable Harm Without a Partial Stay.

          Defendants also cannot show they will suffer any harm, much less irreparable harm absent a

  partial stay. Defendants’ only claimed injury is the alleged interference with their ability to enforce


          3
            See, e.g., Pls.’ § 705 Br. at 16 (“Moreover, the Rule’s harassment standard (particularly when
  combined with its expansion of ‘sex’ to include other concepts) chills and punishes protected speech—
  an effect that is amplified by the requirement that teachers report any speech that could be considered
  harassment and that recipients must respond to what may be prohibited harassment.” (citing 89 Fed.
  Reg. at 33,563, 33,888)); id. at 21 (arguing the Rule’s provisions will induce Plaintiffs to infringe “Free
  Speech, Free Exercise, Due Process, and parental rights”); id. at 22–23, 25 (arguing the Rule was
  arbitrary and capricious because, among other defects, it failed to properly address concerns regarding
  First Amendment, Due Process, and parental rights); id. at 25 (arguing the Rule “underestimated the
  times and costs it will take to review and understand such a lengthy and contradictory Rule, to revise
  policies, and to train employees”); id. at 26–27 (discussing “increased regulatory burdens and
  compliance costs” and “increased recordkeeping obligations, complaints, administrative
  investigations, and private litigation”); Amended Compl., ECF No. 11 ¶¶ 125–26 (discussing increased
  recordkeeping burden and other compliance costs, including those stemming from increased
  complaints, investigations, and lawsuits).
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  Title IX to prevent discrimination. But the injunction does not prevent Defendants from enforcing

  Title IX to prevent discrimination, nor does it prevent Defendants from enforcing longstanding Title

  IX regulations as it has for decades. All the injunction will do is prevent Defendants from enforcing

  the new, not-yet-effective Rule that (a) has never been in effect and thus has generated no reliance

  interests and (b) subverts rather than effectuates Title IX. Moreover, Defendants still have no answer

  as to how they will suffer irreparable harm from delaying the Rule’s effective date when Defendants

  themselves delayed the issuance of the Rule multiple times. See Pls.’ § 705 Br. at 28; Pls.’ § 705 Reply at

  10. By Defendants’ telling, therefore, Defendants themselves have been engaged in irreparable self-harm

  (and irreparable harm to the public). Their position is incoherent and should be rejected as such.

  III.    Plaintiffs Will Suffer Irreparable Harm if a Partial Stay Is Granted.

          In contrast, Plaintiffs will suffer irreparable harm if the Court grants Defendants’ requested

  stay because, among other things, it would destroy the status quo. Plaintiffs accordingly would still be

  forced to incur unrecoverable compliance costs. See Rest. Law Ctr. v. U.S. Dep’t of Labor, 66 F.4th 593,

  597–98 (5th Cir. 2023) (explaining “the nonrecoverable costs of complying with a putatively invalid

  regulation typically constitute irreparable harm” and “the key inquiry is ‘not so much the magnitude

  but the irreparability,’ ” such as when economic costs cannot be recovered from a federal agency that

  enjoys sovereign immunity (quoting Texas, 829 F.3d at 433–34)). Plaintiffs, for example, would be

  compelled to expend time and resources to understand the redlined Rule, revise policies, and train

  employees. And, once this case is ultimately resolved, Plaintiffs may be forced to expend resources yet

  again if the scope of the final relief differs from the preliminary relief or if the Rule ends up surviving

  judicial review.

          Moreover, Defendants’ proposed injunction would not protect Plaintiffs from other

  irreparable harms. After all, if the Court only enjoins “(i) 34 C.F.R. § 106.31(a)(2), and (ii) the hostile

  environment harassment definition in 34 C.F.R. § 106.2,” Defs.’ Stay Br., ECF No. 59, at 3, then

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  Plaintiffs will still be subject to the unlawful gender-identity mandates. That is because 34 C.F.R.

  § 106.10 and § 106.31(a)(1) would still go into effect. Those provisions provide:

          Discrimination on the basis of sex includes discrimination on the basis of sex
          stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation,
          and gender identity.
  and
          Except as provided elsewhere in this part, no person shall, on the basis of sex, be
          excluded from participation in, be denied the benefits of, or otherwise be subjected to
          discrimination under any academic, extracurricular, research, occupational training, or
          other education program or activity operated by a recipient that receives Federal
          financial assistance.

  89 Fed. Reg. 33,886–87. Based on those provisions, Defendants will inevitably classify treating a

  person consistently with their biological sex as gender-identity discrimination and thus prohibited sex

  discrimination. See, e.g., U.S. Dep’t of Justice and U.S. Dep’t of Educ., Confronting Anti-LGBTQI+

  Harassment in Schools: A Resource for Students and Families (Fact Sheet) (June 23, 2021),

  https://www2.ed.gov/about/offices/list/ocr/docs/ocr-factsheet-tix-202106.pdf                    (indicating

  Defendants will investigate recipients for discrimination based on gender identity if they refuse to

  compel students to refer to a classmate by whatever pronoun that classmate chooses or bar a biological

  male who claims to be a “transgender high school girl” from using the girls’ restroom or trying out

  for the girls’ cheerleading team). That means, if the Court narrows the injunction, Plaintiffs still will

  be forced to treat students consistently with their self-professed gender identities, including for facility

  access, and Plaintiffs will remain subject to all the irreparable harms identified in earlier briefing and

  recognized by the Court. See Pls.’ § 705 Br. at 25–28; Pls.’ § 705 Reply at 9–10; Mem. Ruling at 36–37.

  Defendants’ proposed slicing and dicing of the injunction thus attacks the very core of the Court’s

  decision and will cause significant irreparable harm.

  IV.     A Partial Stay Would Disserve the Public Interest.

          Finally, the public interest emphatically weighs against Defendants’ stay request. Allowing

  Defendants to enforce portions of the unlawful and arbitrary and capricious Rule would undermine
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  the public interest “in having governmental agencies abide by the federal laws that govern their

  existence and operations.” Texas v. Biden, 10 F.4th 538, 559 (5th Cir. 2021) (quoting Washington v. Reno,

  35 F.3d 1093, 1102 (6th Cir. 1994)). Indeed, Defendants have “no ‘interest in the perpetuation of

  unlawful agency action.’ ” Texas v. United States, 40 F.4th 205, 229 (5th Cir. 2022) (quoting League of

  Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)). A partial stay also would hurt

  “the public’s interest in the enforcement of duly enacted state laws, academic freedom, and in

  preventing the violation of constitutional rights of students, parents, and teachers.” Pls.’ § 705 Br. at

  28–29; see U.S. Navy Seals 1-26, 27 F.4th at 353 (“[I]njunctions protecting First Amendment freedoms

  are always in the public interest.” (quoting Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535,

  539 (5th Cir. 2013)). Finally, a partial stay would create confusion regarding what aspects of the Rule

  will go into effect, which will burden (a) schools and teachers trying to figure out their obligations and

  (b) families trying to decide whether to homeschool their children or enroll them in private school

  next year.

                                             CONCLUSION

          The Court should deny Defendants’ Motion for a Partial Stay Pending Appeal.




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  Dated: July 1, 2024                            Respectfully Submitted,

                                                     ELIZABETH B. MURRILL
                                                     Attorney General of Louisiana

                                                     /s/Tracy Short_________
    Donald A. Daugherty, Jr.*                        J. Benjamin Aguiñaga*
     Senior Counsel, Litigation                        Solicitor General
    Paul Zimmerman*                                  Tracy Short (La # 23940)
     Senior Counsel, Policy and Regulation             Assistant Chief Deputy Attorney General
    Martha A. Astor*                                 Autumn Hamit Patterson*
     Counsel, Litigation                              Special Assistant Solicitor General
    DEFENSE OF FREEDOM INSTITUTE FOR                 OFFICE OF THE LOUISIANA ATTORNEY GENERAL
    POLICY STUDIES                                   1885 North Third Street
    1455 Pennsylvania Avenue, NW, Suite 400          Baton Rouge, Louisiana 70802
    Washington, DC 20004                             (225) 326-6705
    (414) 559-6902                                   aguinagab@ag.louisiana.gov
    Don.Daugherty@dfipolicy.org                      shortt@ag.louisiana.gov
    Paul.Zimmerman@dfipolicy.org
    Martha.Astor@dfipolicy.org                       Counsel for Plaintiff State of Louisiana, Plaintiff
                                                     Louisiana Department of Education, and Plaintiff School
    Counsel for Plaintiff States                     Boards


    LYNN FITCH                                       AUSTIN KNUDSEN
    Attorney General of Mississippi                  Attorney General of Montana
    Scott G. Stewart*                                Christian B. Corrigan*
      Solicitor General                                Solicitor General
    Justin L. Matheny*                               Peter Torstensen*
      Deputy Solicitor General                         Deputy Solicitor General
    MISSISSIPPI ATTORNEY GENERAL’S OFFICE            MONTANA DEPARTMENT OF JUSTICE
    P.O. Box 220                                     215 N. Sanders Street
    Jackson, Mississippi 39205                       Helena, Montana 59601
    (601) 359-3680                                   (406) 444-2707
    scott.stewart@ago.ms.gov                         Christian.Corrigan@mt.gov
    justin.matheny@ago.ms.gov                        Peter.Torstensen@mt.gov

    Counsel for Plaintiff State of Mississippi       Counsel for Plaintiff State of Montana




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    RAÚL LABRADOR
    Attorney General of Idaho
    Alan Hurst*
     Solicitor General
    Josh Turner*
     Chief of Constitutional Litigation and Policy
    OFFICE OF THE ATTORNEY GENERAL OF
    IDAHO
    700 W. Jefferson Street, Suite 201
    P.O. Box 83720
    Boise, Idaho 83720
    (208) 334-2400
    Alan.Hurst@ag.idaho.gov
    Josh.Turner@ago.idaho.gov

     Counsel for Plaintiff State of Idaho

    *Admitted Pro Hac Vice or Pro Hac Vice admission
    application forthcoming




                                            CERTIFICATE OF SERVICE

           I hereby certify that, on July 1, 2024, I electronically filed the foregoing document with the

   Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

   CM/ECF participating attorneys.

                                                                 /s/ Tracy Short
                                                                 Tracy Short




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